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                      IN THE UNITED STATES DISTRICT COURT                            MAY I 3 2014
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION                                 CLERtTUS. DISTRICT COURT
                                                                                      'r.lCHMOND. VA


UNITED STATES OF AMERICA


v.                                                         CASE NO.   3:13CR00189-003


LONDON SHI-ANNE COTMAN,

                       Defendant



                                             ORDER


       This matter is before the court for consideration of a report and recommendation by the

Magistrate Judge regarding the Magistrate Judge's acceptance of the Defendant's plea of guilty

to specified charges in the pending matter pursuantto a Fed. R. Crim. P. 11 proceeding

conducted by the Magistrate Judge with the consent of the Defendant and counsel. It appearing

that the Magistrate Judge made full inquiry and findings pursuant to Rule 11; that the Defendant

was givennotice of the right to file specific objections to the report and recommendation that has

been submitted as a result of the proceeding; and it further appearing that no objection has been

asserted within the prescribed time period, it is hereby

       ORDERED that the report and recommendation of the Magistrate Judge is ADOPTED

and the Defendant is found guilty of Count One of the Indictment.


                                                                           Is!
                                                               James R. Spencer
                                                               Senior U. S. District Judge
Dated: *\o* H ^O/f
